                                                                          Thursday, March 3, 2022 at 20:55:14 Central Standard Time


Subject:    Tri Star Discovery Responses
Date:       Friday, January 7, 2022 at 4:23:02 PM Central Standard Time
From:       Betsy Hart
To:         roland@mumfordlaw.net, Daniel Arciniegas
CC:         Tara Swaﬀord
AEachments: image001.jpg, image002.png, Tri Star Responses to RFP.pdf

Daniel and Roland,

Tri Star’s responses to your client’s requests for production are attached, and below is a link to the non-
confidential document production. Please let us know if you can agree to the protective order. Once that is in
place, we will produce confidential and highly confidential documents. Thanks.


    Tri Star NON-CONFIDENTIAL Production




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